IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GRETCHEN §. STUART, M.D., etal, +)
)
Plaintiffs, )
v. CIVIL ACTION
RALPH LOOMIS, M_D., et al., Case No. 1:1 1-cv-00804
Defendants. )
)
)

PROPOSED ORDER GRANTING PLAINTIFFS’ MOTION TO MODIFY THE
COURT’S JULY 9, 2013 ORDER

This matter having come before the Court upon Plaintiffs’ Motion to Modify the
Court’s July 9, 2013 Order,
IT IS HEREBY ORDERED that the Plaintiffs’ motion is granted. The Court’s
July 9, 2013 Order is hereby modified as follows:
1. The parties shall not be required to submit a joint submission of material
facts on August 19, 2013;
) Plaintiffs shall submit their statement of undisputed material facts by 10:00
a.m. on August 16, 2013; and
3. Defendants shall submit their response to Plaintiffs’ statement no later than

August 19, 2013.

 

 

Date United States District Judge

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